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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                              )
STERLING SUFFOLK                              )
RACECOURSE, LLC,                              )
                                              )
        v.                                    )
                                              )     Civil No: 18-CV-11963-PBS
WYNN RESORTS, LTD, et al.                     )
                                              )         Leave to file granted April 22, 2019
                 Defendants.                  )
                                              )

FBT EVERETT REALTY LLC’S REPLY TO STERLING SUFFOLK RACECOURSE’S
   CONSOLIDATED OPPOSITION TO DEFENDANTS’ MOTIONS TO DISMISS

        Allegations that are colorful and verbose are not the same thing as allegations that are

plausible and particularized. And, no matter how inflammatory, allegations that do not describe

“racketeering activity,” 18 U.S.C. § 1961(1), cannot be the basis for a civil RICO claim.

        Sterling’s amended complaint—which seeks to recover billions of dollars based entirely

on the supposition that Wynn Resorts fraudulently obtained a casino license for which Sterling

was not even competing—suffers from so many fatal defects, some more glaring than others, that

it would be impossible to brief them all. As a general matter, FBT is content to rest on its opening

brief and adopt the briefs filed by the other defendants. FBT does, however, wish to emphasize a

handful of points regarding Sterling’s RICO claims, which represent Sterling’s sole basis for

federal subject matter jurisdiction in this case.

        First, contrary to what Sterling insinuates at page 47 of its consolidated opposition brief,

FBT has not “conceded” any of Sterling’s allegations of misconduct. What FBT argued in its

opening brief is that, even if assumed to be true, Sterling’s allegations that FBT made

misrepresentations to the Massachusetts Gaming Commission (“MGC”) during the casino

licensing process do not describe “racketeering activity” under 18 U.S.C. § 1961(1). Thus, even


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aside from the fact that they are inadequately pled under Rule 9(b), Sterling’s allegations of such

misconduct do not assist Sterling in pleading cognizable civil RICO claims.

        Second, the association-in-fact RICO enterprise that Sterling alleges as the basis for its

First and Third Claims for Relief is both implausible and inadequately pled. Beyond a few

formulaic and conclusory allegations—which are insufficient “‘to establish the existence of an

enterprise’ under the RICO statute,” Harihar v. United States Bank Nat’l Ass’n, No. 15-cv-11880-

ADB, 2017 U.S. Dist. LEXIS 50596, at *34 (D. Mass. March 31, 2017) (quoting In re Patchell,

336 B.R. 1, 14 (Bankr. D. Mass. 2005))—Sterling’s complaint does not even attempt to plead facts

that would satisfy the “three structural features” required by the Supreme Court’s decision in Boyle

v. United States, 556 U.S. 938, 946 (2009). This is unsurprising, given the tinfoil-hat nature of

Sterling’s association-in-fact hypothesis.

        Third, Sterling’s arguments that the amended complaint describes violations of the Travel

Act’s “gambling” provision and state law “gambling” felonies are completely unsupported by the

case law. The cases that Sterling relies on at pages 37-41 of its brief involved defendants who had

(1) illegally “infiltrate[ed] and obtain[ed] control of [a casino] and a ‘skimming operation,’”

United States v. DeLuna, 763 F.2d 897, 924 (8th Cir. 1985); (2) “maintain[ed] a secret and illegal

role in the ownership, operation, conducting and carrying on of the gaming operations of [a] hotel

casino,” United State v. Goldfarb, 643 F.2d 422, 426 (6th Cir. 1981); (3) operated a “business

enterprise” that “was aimed at illegally manipulating and collecting various jackpots” at Las Vegas

and Reno casinos, United States v. Vaccaro, 602 F. Supp. 1132, 1134 (D. Nev. 1985); and

(4) engaged in the fraudulent “collection of illegal gambling debts” in violation of Georgia state

law, Kemp v. AT&T, 393 F.3d 1354, 1357 (11th Cir. 2004). In short, in each of the cases that

Sterling relies upon, the defendants illegally participated in core gambling activities, either as a



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clandestine and unlicensed operator, a cheating player, or an unlawful debt collector. Here, by

contrast, Sterling’s theory is that Wynn Resorts will in the future openly and obviously operate the

Encore Casino Hotel, albeit using a casino license that Sterling believes Wynn Resorts obtained

through misrepresentations to the MGC years ago. Sterling’s present RICO claim, however,

cannot be based on Wynn Resorts’s future operation of a Massachusetts casino.

        Fourth, Sterling cannot state a mail or wire fraud offense by alleging that it lost out on

future rental income as a downstream consequence of the MGC awarding Wynn Resorts, rather

than Mohegan Sun, the Region A casino license. The reason that Sterling’s complaint fails to state

a mail or wire fraud offense is because Defendants’ alleged deception of the MGC to help Wynn

Resorts win the Region A casino license is categorically not a mail or wire fraud offense under

the Supreme Court’s decision in Cleveland v. United States, 531 U.S. 12 (2000). Whether Sterling

(or others) suffered some downstream economic consequences as a result of the MGC’s licensing

decision is beside the point. Under Cleveland, the federal government could not prosecute

Defendants for mail or wire fraud based on their alleged scheme to deceive the MGC. As a matter

of basic logic, that same conduct cannot constitute a mail or wire fraud predicate for purposes of

a civil RICO lawsuit. 1 Sterling cannot escape this result by pointing to its wholly conclusory

allegation that “but for the defendants’ wrongdoing the MSM/SSR application for the License

would have been granted.” Sterling Opp., at 46.




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  The Supreme Court’s decision in Bridge v. Phoenix Bond & Indemnity Co., 553 U.S. 639 (2008),
does not help Sterling on this issue. Bridge holds only that a plaintiff who suffered foreseeable
injury as a result of the defendant’s “pattern of mail fraud” involving misrepresentations to a third
party has standing to sue under RICO. Id. at 658-659. As stated above, Defendants’ alleged
deception of the MGC was not, and could not have been, a mail or wire fraud at all under
Cleveland. Bridge is therefore inapposite.

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        Fifth, with respect to the honest services fraud allegations involving Mayor DeMaria,

Sterling’s creative storytelling in its opposition brief cannot make up for the total absence of

particularized allegations in its amended complaint. The amended complaint’s honest services

fraud allegations do not come remotely close to satisfying Rule 9(b), and the alleged honest

services fraud predicate must therefore be completely disregarded in assessing whether Sterling’s

amended complaint pleads a “pattern” of racketeering activity.

        Sixth, Sterling’s arguments regarding RICO’s “pattern” element either misunderstands or

misrepresents First Circuit precedent. Sterling cannot establish a “pattern” under Efron v. Embassy

Suites (P.R.), Inc., 223 F.3d 12, 19 (1st Cir. 2000), by alleging that Wynn Resorts was

“incentivized to affirmatively lie as might be necessary not only to prevent exposure of lies during

the License acquisition process in 2013 and 2014, but to prevent exposure of other misconduct that

was still ongoing.” Sterling Opp., at 61. Rather, Sterling must plead facts showing that the alleged

RICO enterprise would continue to engage in racketeering activity related to that which occurred

in 2013 and 2014. See id. at 20 (“Had Efron argued that the defendants planned to operate the

hotel indefinitely at a paper loss as a means of perpetually defrauding him, rather than asserting

the specific objective of squeezing him out of the Partnership, he would have had a strong

argument for an open-ended RICO pattern.” (emphasis added)). Sterling has utterly failed to do

so. This is particularly true with respect to the association-in-fact enterprise that underlies the two

RICO claims that Sterling has lodged against FBT. FBT is a single purpose real estate investment

entity with no involvement in the Encore and, since the sale of the Everett Parcel, no relationship

whatsoever with Wynn Resorts. Sterling cannot plausibly allege that an association-in-fact

enterprise between FBT and the various Wynn defendants posed a threat of continued existence,

let alone a threat of indefinite racketeering activity.



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        At the end of the day, Sterling’s allegations amount to a political complaint that the MGC

made the wrong choice in awarding the Region A casino license to Wynn Resorts rather than

Mohegan Sun. Sterling’s recourse, however, should be either the political process or to intervene

in Mohegan Sun’s pending state court lawsuit against the MGC, which alleges that the MGC

treated Mohegan Sun unfairly. Sterling should not be allowed to use a civil RICO lawsuit as a

basis to conduct in federal court a hypothetical “do-over” of the Region A casino licensing

competition, particularly where Sterling was not even a direct participant in that competition.

                                         CONCLUSION

        For the reasons stated above, and the reasons stated in FBT’s opening brief and the other

defendants’ briefs, Sterling’s amended complaint should be dismissed with prejudice.

DATED: April 22, 2019                                Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I, Aaron M. Katz, hereby certify that, on April 22, 2019, true and accurate copies of the
foregoing were served on counsel for all parties through ECF.

                                                   /s/ Aaron M. Katz
                                                   Aaron M. Katz




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